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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 19-5272                                                 September Term, 2023
                                                                      1:18-cv-02718-RDM
                                                   Filed On: November 1, 2023 [2024759]
O.A., et al.,

                Appellees

       v.

Joseph R. Biden, Jr., as President of the
United States, et al.,

                Appellants

                                      MANDATE

      In accordance with the order of November 1, 2023, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk




Link to the order filed November 1, 2023
